                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                at CHATTANOOGA


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          1:05-mc-21/1:98-cr-77
                                               )          Edgar/Lee
WILLITRIAN J. STEWART                          )


                                     MEMORANDUM

       Petitioner Willitrian J. Stewart (“Stewart”) filed a petition for a writ of habeas corpus

pursuant to 28 U.S.C. § 2241. On April 6, 2005, the Court directed the Clerk to send Stewart

an in forma pauperis application and directed Stewart to pay the $5.00 filing fee or submit

an affidavit of indigency within thirty (30) days from the date of the Order. Stewart was

notified that failure to comply with the Court’s order would result in the automatic dismissal

of this action [Court File No. 1].

       Stewart has failed to return a sufficient in forma pauperis application, file the $5.00

filing fee, or file any type of response to the Court’s order. Therefore, this action will be

DISMISSED sua sponte for failure to comply with the orders of this Court. FED. R. CIV.

P. 41(b); Jourdan v. Jabe, 951 F.2d 108 (6th Cir. 1991).

       An appropriate judgment will enter.



                                                   /s/ R. Allan Edgar
                                                R. ALLAN EDGAR
                                       CHIEF UNITED STATES DISTRICT JUDGE




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